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                                                                                         Christopher E. Hartmann



                             ORDER
                                                                                                      Of Counsel
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                                             January 3, 2022


       Via ECF
       Hon. Edward S. Kiel, U.S. Magistrate Judge
       United States District Court of New Jersey
       2 Federal Square Newark, NJ 07102

                       Re: PIMENTEL v. PARK PLACE OF NEW JERSEY, LLC et. al.
                                 Docket No.: 2:20-cv-14744 (CCC/ESK)

       Dear Judge Kiel,

       Subject to the Court’s permission, counsel have conferred and agreed to extend the period for
       fact discovery past the holiday season, to February 28, 2022.

       We also request that the next status conference be adjourned to mid-February.          Plaintiff’s
       counsel approved this letter and will receive an immediate copy once submitted.

       Thank you for considering this request and Happy New Year.

       Respectfully,
                                                               The highlighted request is So
       /S/ Christopher E. Hartmann                             Ordered.
       Christopher E. Hartmann
                                                                    /s/ Edward S. Kiel                     .




       cc: Robert J. Nahoum, Esq. (Via ECF and email)          Edward S. Kiel, U.S.M.J.
                                                               Date: January 5, 2022
